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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE


 TAMRA FOERSTER, individually and on
 behalf of all others similarly situated,         Civil Case Number: 1:17-cv-01337-JEJ

                        Plaintiffs,               NOTICE OF SETTLEMENT

                    -against-

 FIRSTCOLLECT, INC.

                        Defendants.



       Plaintiff respectfully submits this Notice of Settlement to inform the Court that Plaintiff

and Defendant have reached an agreement in principle and are in the process of finalizing the

terms of the settlement and all required documentation.

Dated: May 16, 2018


                                             Respectfully Submitted,

                                             GARIBIAN LAW OFFICES, P.C.

                                             /s/ Antranig Garibian
                                             Antranig Garibian, Esquire (Bar No. 4962)
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                                             (302) 722-6885
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                                             Counsel for Plaintiff
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                             CERTIFICATE OF SERVICE

           I, Antranig Garibian, Esq., hereby certify that a copy of the Notice of Settlement
   has been filed electronically. Notice of this filing will be sent to all parties by operation of
   the Court’s electronic filing system. Parties may access this filing through the Court’s
   electronic filing.



                                   Respectfully submitted,

                                   /s/ Antranig N. Garibian____
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